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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

                                                    )
In re:                                              )          Chapter 11
                                                    )
SPORTCO HOLDINGS, INC., et al.,1                    )          Case No. 19-11299 (LSS)
                                                    )
                          Debtors.                  )          (Jointly Administered)
                                                    )

                       NOTICE OF AGENDA OF MATTERS SCHEDULED
                      FOR HEARING ON JULY 16, 2019 AT 11:00 A.M. (ET)2

WITHDRAWN MATTER

1.       Debtors’ Motion for Entry of an Order (I) Approving the Debtors’ Key Employee
         Incentive Program for Certain Employees and (II) Granting Related Relief [Docket No.
         70; Filed 6/25/2019]

         Objection Deadline:                July 9, 2019 at 4:00 p.m. (The Official Committee of
                                            Unsecured Creditors, Prospect Capital Corporation, and the
                                            United States Trustee were granted extensions to respond
                                            until July 12, 2019 at 4:00 p.m.)

         Related Document(s):

                 a)       Omnibus Notice of Pleadings and Hearing Thereon [Docket No. 102;
                          Filed: 7/2/2019]




1
 The Debtors, together with the last four digits of each Debtor’s federal tax identification number, are: Bonitz
Brothers, Inc. (4441); Ellett Brothers, LLC (7069); Evans Sports, Inc. (2654); Jerry’s Sports, Inc. (4289); Outdoor
Sports Headquarters, Inc. (4548); Quality Boxes, Inc. (0287); Simmons Guns Specialties, Inc. (4364); SportCo
Holdings, Inc. (0355); and United Sporting Companies, Inc. (5758). The location of the Debtors’ corporate
headquarters and the service address for all Debtors is 267 Columbia Ave., Chapin, SC, 29036.
2
  This hearing will take place before the Honorable Laurie Selber Silverstein at the United States Bankruptcy Court
for the District of Delaware, 824 N. Market Street, 6th Floor, Courtroom No. 2, Wilmington, Delaware 19801.
Parties wishing to participate telephonically must make arrangements through CourtCall at 1-866-582-6878 in
advance of the hearing.



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                   b)   Supplemental Declaration of Dalton Edgecomb in Support of Debtors' (A)
                        Motion for Entry of an Order (I) Approving the Debtors' Key Employee
                        Retention Program for Certain Non-Insider Employees and (II) Granting
                        Related Relief; (B) Motion for Entry of an Order, Pursuant to Sections
                        105(a), 363 and 503 of the Bankruptcy Code, Authorizing the Debtors to
                        Make Post-Petition Severance Payments to Non-Insider Employees in
                        Accordance with the Debtors' Pre-Petition Severance Program; and (C)
                        Motion for Entry of an Order (I) Approving the Debtors' Key Employee
                        Incentive Program for Certain Employees and (II) Granting Related Relief
                        [Docket No. 108; Filed: 7/3/2019]

                   c)   Notice of Withdrawal of Debtors’ Motion for Entry of an Order (I)
                        Approving the Debtors’ Key Employee Incentive Program for Certain
                        Employees and (II) Granting Related Relief [Docket No. 128; Filed
                        7/11/2019]

         Response(s) Received:        Informal Comments from the Official Committee of
                                      Unsecured Creditors, Prospect Capital Corporation, and the
                                      United States Trustee

         Status:        This matter has been withdrawn.

MATTERS WITH CERTIFICATE OF NO OBJECTION OR CERTIFICATION OF
COUNSEL

2.       Debtors’ Motion for Entry of Interim and Final Orders Authorizing Payment of Certain
         Prepetition Employee Wages, Benefits, and Related Items [Docket No. 4; Filed:
         6/10/2019]

         Objection Deadline:          July 9, 2019 at 4:00 p.m.

         Related Document(s):

                   a)   Interim Order Authorizing the Debtors to Pay Prepetition Employee
                        Wages, Benefits and Related Items [Docket No. 42; Entered: 6/11/2019]

                   b)   Omnibus Notice of Pleadings and Hearing Thereon [Docket No. 53; Filed:
                        6/13/2019]

                   c)   Certification of Counsel Regarding Final Order Authorizing the Debtors to
                        Pay Prepetition Employee Wages, Benefits and Related Items [Docket No.
                        119; Filed: 7/11/2019]

         Responses Received:

                   a)   Omnibus Limited Objection and Reservation of Rights of Second Priority
                        Agent Concerning the Budget and the Debtors’ First Day Motions [Docket
                        No. 17; Filed: 6/10/2019]

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                   b)   Debtors’ Response to Omnibus Limited Objection and Reservation of
                        Rights of Second Priority Agent [Docket No. 31; Filed: 6/11/2019]

                   c)   Notice of Filing of Exhibit A to Debtors’ Response to Omnibus Limited
                        Objection and Reservation of Rights of Second Priority Agent [Docket
                        No. 33; Filed: 6/10/2019]

                   d)   Informal comments from the United States Trustee

         Status:        A proposed form of final order has been filed under certification of
                        counsel. No hearing is necessary unless the Court directs otherwise.

3.       Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors to (A)
         Continue Insurance Coverage Entered into Prepetition and Satisfy Prepetition Obligations
         Related Thereto, Including Broker Fees, (B) Renew, Supplement, or Purchase Insurance
         Policies, (C) Honor Prepetition Insurance Premium Financing Agreement, and (D)
         Renew Insurance Premium Financing Agreement in the Ordinary Course of Business; (II)
         Authorizing Banks to Honor and Process Checks and Electronic Transfer Requests
         Related Thereto; and (III) Granting Related Relief [Docket No. 5; Filed: 6/10/2019]

         Objection Deadline:          July 9, 2019 at 4:00 p.m.

         Related Document(s):

                   a)   Interim Order (I) Authorizing the Debtors to (A) Continue Insurance
                        Coverage Entered into Prepetition and Satisfy Prepetition Obligations
                        Related Thereto, Including Broker Fees, (B) Renew, Supplement, or
                        Purchase Insurance Policies, (C) Honor Prepetition Insurance Premium
                        Financing Agreement, and (D) Renew Insurance Premium Financing
                        Agreement in the Ordinary Course of Business; (II) Authorizing Banks to
                        Honor and Process Checks and Electronic Transfer Requests Related
                        Thereto; and (III) Granting Related Relief [Docket No. 43; Entered:
                        6/11/2019]

                   b)   Omnibus Notice of Pleadings and Hearing Thereon [Docket No. 53; Filed:
                        6/13/2019]

                   c)   Certification of Counsel Regarding Final Order (I) Authorizing the
                        Debtors to (A) Continue Insurance Coverage Entered into Prepetition and
                        Satisfy Prepetition Obligations Related Thereto, Including Broker Fees,
                        (B) Renew, Supplement, or Purchase Insurance Policies, (C) Honor
                        Prepetition Insurance Premium Financing Agreement, and (D) Renew
                        Insurance Premium Financing Agreement in the Ordinary Course of
                        Business; (II) Authorizing Banks to Honor and Process Checks and
                        Electronic Transfer Requests Related Thereto; and (III) Granting Related
                        Relief [Docket No. 120; Filed: 7/11/2019]



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         Response(s) Received:        None.

         Status:        A proposed form of final order has been filed under certification of
                        counsel. No hearing is necessary unless the Court directs otherwise.

4.       Debtors’ Application for Entry of an Order Authorizing the Retention and Employment of
         McDermott Will & Emery LLP as Attorneys for the Debtors and Debtors in Possession
         Effective Nunc Pro Tunc to the Petition Date [Docket No. 74; Filed: 6/25/2019]

         Objection Deadline:          July 9, 2019 at 4:00 p.m. (The United States Trustee was
                                      granted an extension to respond until July 12, 2019 at 4:00
                                      p.m.)

         Related Document(s):

                   a)   Declaration of Dalton Edgecomb, the Debtors’ Chief Restructuring
                        Officer, in Support of the Debtors’ Application to Authorize the Retention
                        and Employment of (A) McDermott Will & Emery LLP and (B) Polsinelli
                        PC as Counsel to the Debtors Nunc Pro Tunc to the Petition Date [Docket
                        No. 93; Filed: 7/1/2019]

                   b)   Certification of Counsel Regarding Order Authorizing the Retention and
                        Employment of McDermott Will & Emery LLP as Attorneys to the
                        Debtors and Debtors in Possession Effective Nunc Pro Tunc to the Petition
                        Date [Docket No. 122; Filed: 7/11/2019]

         Response(s) Received:        Informal comments from the United States Trustee

         Status:        A revised proposed form of order has been filed under certification of
                        counsel. No hearing is necessary unless the Court directs otherwise.

5.       Application of Debtors for Authority to Employ and Retain Polsinelli PC as Co-Counsel
         to the Debtors Nunc Pro Tunc to the Petition Date [Docket No. 75; Filed: 6/25/2019]

         Objection Deadline:          July 9, 2019 at 4:00 p.m.

         Related Document(s):

                   a)   Declaration of Dalton Edgecomb, the Debtors’ Chief Restructuring
                        Officer, in Support of the Debtors’ Application to Authorize the Retention
                        and Employment of (A) McDermott Will & Emery LLP and (B) Polsinelli
                        PC as Counsel to the Debtors Nunc Pro Tunc to the Petition Date [Docket
                        No. 93; Filed: 7/1/2019]

                   b)   Supplemental Declaration of Christopher A. Ward, Esq. in Support of the
                        Application of Debtors to Authorize the Retention and Employment of
                        Polsinelli PC as Co-Counsel to the Debtors Nunc Pro Tunc to the Petition
                        Date [Docket 107; Filed: 7/3/2019]

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                   c)   Certification of Counsel Regarding Order Authorizing Retention and
                        Employment of Polsinelli PC as Co-Counsel to the Debtors Nunc Pro
                        Tunc to the Petition Date [Docket No. 123; Filed: 7/11/2019]

         Response(s) Received:        Informal Comments from the United States Trustee

         Status:        A revised proposed form of order has been filed under certification of
                        counsel. No hearing is necessary unless the Court directs otherwise.

6.       Debtors’ Application for Entry of Order Pursuant to 11 U.S.C. §§ 105(a) and 363(b)
         Authorizing and Approving Debtors’ (I) Retention and Employment of Winter Harbor,
         LLC and (II) Employment of Dalton Edgecomb as Chief Restructuring Officer Nunc Pro
         Tunc to the Petition Date [Docket No. 76; Filed: 6/25/2019]

         Objection Deadline:          July 9, 2019 at 4:00 p.m.

         Related Document(s):

                   a)   Certification of Counsel Regarding Order Authorizing and Approving
                        Debtors’ (I) Retention and Employment of Winter Harbor, LLC and (II)
                        Employment of Dalton Edgecomb as Chief Restructuring Officer Nunc
                        Pro Tunc to the Petition Date [Docket No. 124; Filed: 7/11/2019]

         Response(s) Received:        Informal Comments from the United States Trustee

         Status:        A revised proposed form of order has been filed under certification of
                        counsel. No hearing is necessary unless the Court directs otherwise.

7.       Motion of Debtors for Entry of an Order Establishing Procedures for Interim
         Compensation and Reimbursement of Expenses of Professionals [Docket No. 77; Filed:
         6/25/2019]

         Objection Deadline:          July 9, 2019 at 4:00 p.m.

         Related Document(s):

                   a)   Certificate of No Objection Regarding Motion of Debtors for Entry of an
                        Order Establishing Procedures for Interim Compensation and
                        Reimbursement of Expenses of Professionals [Docket No. 125; Filed:
                        7/11/2019]

                   b)   Proposed Order

         Response(s) Received:        None.

         Status:        A certificate of no objection has been filed. No hearing is necessary
                        unless the Court directs otherwise.



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MATTERS GOING FORWARD

 8.      Debtors’ Motion for Interim and Final Orders Authorizing Debtors to Continue Using
         Existing Bank Accounts, Business Forms, and Cash Management System [Docket No. 6;
         Filed: 6/10/2019]

         Objection Deadline:          July 9, 2019 at 4:00 p.m.

         Related Document(s):

                   a)   Interim Order Authorizing the Debtors to Continue Using Existing Bank
                        Accounts, Business Forms, and Cash Management System [Docket No.
                        41; Filed: 6/11/2019]

                   b)   Omnibus Notice of Pleadings and Hearing Thereon [Docket No. 53; Filed:
                        6/13/2019]

         Response(s) Received:        Informal Comments from the United States Trustee and
                                      Wells Fargo Bank, National Association

         Status:        The parties are negotiating an adjournment of this matter to a date to be
                        determined by the Court, as of now this matter is going forward.

9.       Motion of Debtors for Entry of Interim and Final Orders (I) Authorizing the Debtors to
         Obtain Postpetition Financing, (II) Authorizing the Debtors to Use Cash Collateral, (III)
         Granting Liens and Providing Superpriority Administrative Expense Status, (IV)
         Granting Adequate Protection to the Prepetition Lenders, (V) Modifying Automatic Stay,
         (VI) Scheduling a Final Hearing, and (VII) Granting Related Relief [Docket No. 8; Filed:
         6/10/2019]

         Objection Deadline:          July 9, 2019 at 4:00 p.m. (The Official Committee of
                                      Unsecured Creditors was granted an extension to respond
                                      until July 12, 2019 at 4:00 p.m.)

         Related Document(s):

                   a)   Interim Order (I) Authorizing the Debtors to Obtain Postpetition
                        Financing, (II) Authorizing the Debtors to Use Cash Collateral, (III)
                        Granting Liens and Providing Superpriority Administrative Expense
                        Status, (IV) Granting Adequate Protection to the Prepetition Lenders, (V)
                        Modifying Automatic Stay, (VI) Scheduling a Final Hearing, and (VII)
                        Granting Related Relief [Docket No. 51; Entered: 6/13/2019]

                   b)   Omnibus Notice of Pleadings and Hearing Thereon [Docket No. 53; Filed:
                        6/13/2019]




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         Response(s) Received:

                   a)   Omnibus Limited Objection and Reservation of Rights of Second Priority
                        Agent Concerning the Budget and the Debtors’ First Day Motions [Docket
                        No. 17; Filed: 6/10/2019]

                   b)   Debtors’ Response to Omnibus Limited Objection and Reservation of
                        Rights of Second Priority Agent [Docket No. 33; Filed: 6/11/2019]

                   c)   Informal comments from the United States Trustee, the Official
                        Committee of Unsecured Creditors, and Prospect Capital Corporation

         Status:        The parties are negotiating an adjournment of this matter to a date to be
                        determined by the Court, as of now this matter is going forward.

10.      Debtors’ Motion for Entry of an Order (I) Approving the Debtors' Key Employee
         Retention Program for Certain Non-Insider Employees and (II) Granting Related Relief
         [Docket No. 67; Filed: 6/25/2019]

         Objection Deadline:          July 9, 2019 at 4:00 p.m. (The Official Committee of
                                      Unsecured Creditors, Prospect Capital Corporation, and the
                                      United States Trustee were granted extensions to respond
                                      until July 12, 2019 at 4:00 p.m.)

         Related Document(s):

                   a)   Omnibus Notice of Pleadings and Hearing Thereon [Docket No. 102;
                        Filed: 7/2/2019]

                   b)   Supplemental Declaration of Dalton Edgecomb in Support of Debtors' (A)
                        Motion for Entry of an Order (I) Approving the Debtors' Key Employee
                        Retention Program for Certain Non-Insider Employees and (II) Granting
                        Related Relief; (B) Motion for Entry of an Order, Pursuant to Sections
                        105(a), 363 and 503 of the Bankruptcy Code, Authorizing the Debtors to
                        Make Post-Petition Severance Payments to Non-Insider Employees in
                        Accordance with the Debtors' Pre-Petition Severance Program; and (C)
                        Motion for Entry of an Order (I) Approving the Debtors' Key Employee
                        Incentive Program for Certain Employees and (II) Granting Related Relief
                        [Docket No. 108; Filed: 7/3/2019]

                   c)   Notice of Filing of Revised Exhibit B to Debtors’ Motion for Entry of an
                        Order (I) Approving the Debtors' Key Employee Retention Program for
                        Certain Non-Insider Employees and (II) Granting Related Relief [Docket
                        No. 127; Filed: 7/11/2019]




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         Response(s) Received:        Informal Comments from the Official Committee of
                                      Unsecured Creditors, Prospect Capital Corporation, and the
                                      United States Trustee

         Status:        The parties are negotiating an adjournment of this matter to a date to be
                        determined by the Court, as of now this matter is going forward.

11.      Debtors’ Motion for Entry of an Order, Pursuant to Sections 105(a), 363 and 503 of the
         Bankruptcy Code, Authorizing the Debtors to Make Post-Petition Severance Payments to
         Non-Insider Employees in Accordance with the Debtors' Pre-Petition Severance Program
         [Docket No. 69; Filed: 6/25/2019]

         Objection Deadline:          July 9, 2019 at 4:00 p.m. (The Official Committee of
                                      Unsecured Creditors, Prospect Capital Corporation, and the
                                      United States Trustee were granted extensions to respond
                                      until July 12, 2019 at 4:00 p.m.)

         Related Document(s):

                   a)   Omnibus Notice of Pleadings and Hearing Thereon [Docket No. 102;
                        Filed: 7/2/2019]

                   b)   Supplemental Declaration of Dalton Edgecomb in Support of Debtors' (A)
                        Motion for Entry of an Order (I) Approving the Debtors' Key Employee
                        Retention Program for Certain Non-Insider Employees and (II) Granting
                        Related Relief; (B) Motion for Entry of an Order, Pursuant to Sections
                        105(a), 363 and 503 of the Bankruptcy Code, Authorizing the Debtors to
                        Make Post-Petition Severance Payments to Non-Insider Employees in
                        Accordance with the Debtors' Pre-Petition Severance Program; and (C)
                        Motion for Entry of an Order (I) Approving the Debtors' Key Employee
                        Incentive Program for Certain Employees and (II) Granting Related Relief
                        [Docket No. 108; Filed: 7/3/2019]

         Response(s) Received:        Informal Comments from the Official Committee of
                                      Unsecured Creditors, Prospect Capital Corporation, and the
                                      United States Trustee

         Status:        The parties are negotiating an adjournment of this matter to a date to be
                        determined by the Court, as of now this matter is going forward.




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Dated: July 12, 2019              Respectfully submitted,
       Wilmington, Delaware
                                  POLSINELLI PC

                                  /s/ Christopher A. Ward
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                                  Brenna A. Dolphin (Del. Bar No. 5604)
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                                  -and-

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                                  Proposed Counsel to the Debtors and
                                  Debtors in Possession




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